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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1925V
                                          UNPUBLISHED


    JANICE BERKOW,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: July 26, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Daniel J. Bellig, Farrish Johnson Law Office, Mankato, MN, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On December 19, 2019, Janice Berkow filed a petition for compensation, which
was amended on April 30, 2020, under the National Vaccine Injury Compensation
Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that she
suffered right upper extremity injuries resulting from an influenza vaccine received on
September 19, 2018. Amended Petition at 1; Stipulation, filed July 26, 2022, at ¶¶ 2-4.
Petitioner further alleges the vaccine was administered in the United States, she
experienced the residual effects of her injury for more than six months, and there has
been no prior award or settlement of a civil action for damages on her behalf as a result
of her alleged injury or condition. Amended Petition at ¶¶ 3, 11-13; Stipulation at ¶¶ 3-5.
“Respondent denies that petitioner sustained a SIRVA Table injury; denies that the
vaccine caused petitioner’s alleged right shoulder injury or any other injury, and denies
that her current condition is a sequela of a vaccine-related injury.” Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       Nevertheless, on July 26, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $38,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


 JANICE BERKOW,

                          Petitioner,

 V.                                                       No. 19-1925V
                                                          Ch ief Special Master Corcoran
 SECRETARY OF HEALTH AND                                  ECF
 HUMAN SERVICES,

                          Respondent.



                                          STIPULATION

        The parties hereby stipulate to the following matters:

        I. Janice Berkow (" petitioner'') filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-l0 to -34 (the "Vaccine

Program'·). The petition seeks compensation for injuries allegedly related to petitioner' s receipt

of an influenza ("flu") vaccine, which is a vaccine contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § I 00.3 (a).

        2. Petitioner received the flu vaccine on September 19, 2018.

        3. The vaccination was administered within the United States.

        4. Petitioner alleges that she sustained a right shoulder injury related to vaccination

administration ("SIRVA") within the time period set forth in the Table following administration

of the flu vacc ine , or in the alternative, that her alleged shoulder injury was caused by the flu

vaccine. She further alleges that she experienced the residual effects of this alleged injury for

ijl@re than six months.
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        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged injury or condition.

        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged right shoulder injury or any other injury, and denies that her

current condition is a sequela ofa vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the tenns of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 I (a)( I), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

       A lump sum of $38,500.00 in the form ofa check payable to petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-l 5(a).

       9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2 I(a)( I), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        l 0. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or



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State health benefits programs (other than Title XIX of the Social Security Act(42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-

l 5(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of42 U.S.C. § 300aa-l 5(a) and (d), and subjectto the conditions of 42 U.S.C.

§ 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(includingagreements,judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U .S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on September 19, 2018,

as alleged by petitioner in a petition for vaccine compensation filed on or about December 19,

2019, in the United States Court of Federal Claims as petition No. I 9-1925V.




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        14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete confonnity with the tenns

of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable atthe sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or rev ise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury or

any other injury or her current condition , or that petitioner suffered an injury contained in the

Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

PETITIONER:




ATTORNEY OF RECORD                                    AUTHORIZED REPRESENTATIVE
FOR PETITIONER:                                       OF THE ATTORNEY GE~ERAL:



               LIG. ESQ.                              HEATHER L. PEARLMAN
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                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington , DC20044-0146


AUTHORIZED REPRESENTATIVE                             ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                            RESPONDENT:
AND HUMAN SERVICES:
George R. Grimes - Digitally signed by George R.
                   Grlme1 -S14
S14                Date: 2022.06.30 14:48:21 •04'00


CDR GEORGE REED GRIMES. rvtD, MPH
Director, Division of Injury                          Trial Attorney
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Health System Bureau                                  Civil Division
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Dated: ] \ 'U,- 1:t~
